              Case 3:14-cv-01511-VC Document 49 Filed 05/20/19 Page 1 of 5




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                                UNITED STATES DISTRICT COURT
7'7                           NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
18                                                                                VC
      LTNITED STATES OF AMERICA and the                    CASE NO. C 14-I5I1 EDL
19    STATE OF CALIFORNIA ex rel.
      ERIN HAYES and RICHARD PONDER                        JOINT STIPULATION OF VOLUNTARY
20                                                         DISMISSAL; [PROPOSED] ORDER
                            Plaintiffs,
27
                    v.
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      COVIDIEN, INIC., a corporation,
23
                            Defendant.
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             Pursuant to Rule 4l (a) of the Federal Rules of   Civil Procedure and the qui tam provisions
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      of the False Claims Act (FCA), 31 U.S.C. $ 3730(b)(1), and in accordance with and subject to al
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      JOINT STIPULATION OF VOLLTNTARY DISMISSAL; PROPOSED ORDER
      c 14-1511 EDL
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      of the terms and conditions of the settlement agreement among the United States, the State of
 1


 2    California, the State of Florida, Relators Erin Hayes, Richard Ponder, and Shawnea Howerton,

 3    and Covidien LP1, (the "settlement Agreement"), the United States, the State of California, and

 4
      Relators Erin Hayes and Richard Ponder ("the Hayes Relators"), hereby stipulate, through their

      undersigned counsel, as follows:
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 '7
              l.       As to the United States, the claims against Covidien LP are dismissed with
 8    prejudice as to the Covered Conduct released in the Settlement Agreement and subject to all of

 9    the terms of the Settlement Agreement, and otherwise without prejudice.

10           2.        As to the State of California, the claims against Covidien LP are dismissed with
11    prejudice as to the Covered Conduct released in the Settlement Agreement (including any
t2    supplemental state law claims) and subject to all of the terms of the Settlement Agreement, and

13    otherwise without prejudice.

74           3.        As to the Hayes Relators, this action is dismissed with prejudice, subject to all of

      the terms of the Settlement Agreement and subject to all of the terms of a separate agreement

l6    between the Hayes Relators and Covidien LP, which resolves the Hayes Relators' claims

71    pursuant to   3l U.S.C. $ 3730(h).
1B           4.        According to the terms of the Settlement Agreement, this Court retains

19    jurisdiction over any disputes that may arise regarding compliance with the Settlement

20    Agreement.

27           5.        A copy of the Settlement Agreement will    be provided to the Court upon request.

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z5           IT IS SO STIPULATED
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      I Covidien LP was erroneously named as Covidien, Inc. in the
2B                                                                 complaint.

      JOINT STIPULATION OF VOLUNTARY DISMISSAL;PROPOSED ORDER
      c 14-l5ll EDL
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                  Case 3:14-cv-01511-VC Document 49 Filed 05/20/19 Page 3 of 5




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          JOINT STIPULATION OF VOLLINTARY DISMISSAL; PROPOSED ORDER
          c l4-l5l I EDL
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                Case 3:14-cv-01511-VC Document 49 Filed 05/20/19 Page 4 of 5




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         JOINT STIPULATION OF VOLLTNTARY DISMISSAL; PROpoSED ORDER
         c l4-1sll EDL
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                  Case 3:14-cv-01511-VC Document 49 Filed 05/20/19 Page 5 of 5




     1                                        IPROPOSEDI ORDER
     2


     3            PURSUANT TO STIPULATION, IT IS SO ORDERED. The Court directs the Clerk to

     4   close this case pursuant to the settlement agreement between the parties.

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                                                                        ISTRIC
                  IT IS SO ORDERED.                                TES D      TC
                                                                 TA
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                                                          ED
         Dated:   May 20, 2019




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                                                      HON. ELIZABETH D.RLAPORTE
                                                                   S S O O
     9                                                       IT I Magistrate Judge
                                                      United States




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         JOINT STIPULATION OF VOLLINTARY DISMISSAL; PROPOSED ORDER
         c 14-151I EDL
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